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5    Attorney for Defendant
     FAUSTINO AGUAYO
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9                                  UNITED STATES DISTRICT COURT
10                             NORT HERN DISTRIC T OF C ALIFO RNIA
11                                                   ooo
12    UNITED STATES OF AMERICA,
13                                                       CR. 05-118-MMC
                      Plaintiff,
14    vs.                                                STIPULATION TO CONTINUE
15                                                       STATUS CONFERENCE

16    FAU STIN O AG UAY O, et al.,

17                    Defendants.

18                                                   /

19
            Defendant FAUSTINO AG UAYO, by and through his counsel of record
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     Randy Sue Pollock, and Assistant U.S. Attorney David Hall hereby stipulate and agree
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     that the status c onferenc e presently set fo r Wedn esday, April 5, 2 006, be co ntinued un til
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     May 3, 2 006, at 2 :30 p.m .
23           Ms. Pollock is still reviewing the discovery that was turned over in a related
24   prosecution that is pending before the Honorable Marilyn H. Patel, regarding a
25   confid ential inf orman t in this ca se.
26   ///
27   ///
28   ///
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1           Ms. Pollock has advised all counsel in this case of the requested continuance and
2    none hav e objected. B oth Mr. B ell and M s. Leary could not be pres ent on this da te due to
3    medic al issues .
4           The time p eriod from April 5, 20 06, to Ma y 3, 2006 w ould be de emed ex cludable
5    pursuant to 18 U.S.C. Section 3161(h)(8)(A), given that the ends of justice served by
6    granting a continuance outweigh the best interests of the public and of the defendant in a
7    speedy trial.   Additionally, pursuant to 18 U.S.C. Section 3161(h)(8)(B)(ii) given the
8    nature of the prosecu tion, the volume of the ev idence, the fact that wiretaps w ere
9    involved as well as pending motions in a related case, it is unreasonable to expect
10   adequate preparation for pretrial pro ceedings a nd for the tria l within the tim e limits
11   established b y the Speedy T rial Act.
12
13
14    Date: April 4, 2006                          (S) Randy Sue Pollock
15                                                 RANDY SUE POLLOCK
                                                   Counsel for Defendant
16                                                 FAUSTINO AGUAYO
                                                   On Be half Of A ll Defend ants
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21   SO ORDER ED:              4 2006
                         April____,               __________________________________
                                                  MAXINE M. CHESNEY
22                                                United States District Court Judge

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